                  IN THE UNITED STATES DISTRICT COURT FOR
                     THE EASTERN DISTRICT OF TENNESSEE
                             KNOXVILLE DIVISION

JIMMIE D. ROSS and               )
PAMELA A. ROSS,                  )
                                 )
                Plaintiffs,      )
                                 )
v.                               )                      No. 3:05-CV-075
                                 )
CHASE BANK,                      )
AMBROSE, WILSON, GRIMM & DURAND, )
CHRISTOPHER W. CONNER,           )
TELFORD E. FORGETY, JR.,         )
R-MAC DEVELOPMENT, LLC, and      )
MARTIN I. RAVIN,                 )
                                 )
                Defendants.      )

                                        ORDER

              For the reasons stated in the memorandum opinion filed contemporaneously

with this order, the court GRANTS the motions to dismiss filed by: (1) R-Mac Development,

L.L.C. and Martin I. Ravin [doc. 11]; (2) Christopher W. Conner and Ambrose, Wilson,

Grimm & Durand [doc. 25]; and (3) Chase Bank [doc. 29]. In addition, plaintiffs’ response

to the motion of defendants Conner and Ambrose, Wilson, Grimm & Durand, which

plaintiffs filed as a motion to strike, is DENIED for the same reasons. This civil action is

DISMISSED.

              IT IS SO ORDERED.
                                                        ENTER:


                                                                s/ Leon Jordan
                                                           United States District Judge


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